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                            UNITED STATES DISTRICT COURT

                                      DISTRICT OF OREGON

                                       PORTLAND DIVISION



GREAT NORTHERN RESOURCES, INC.,                      Case No.: 3:20-cv-01866-IM (Lead Case)
DYNAMIC SERVICE FIRE AND SECURITY,                   Case No.: 3:20-cv-02022-IM (Trailing Case)
LLC, and WALTER VAN LEJA, on behalf of
themselves and others similarly situated,
                                                     SUPPLEMENTAL DECLARATION OF
                     Plaintiffs,                     VICTORIA URDANETA

       V.                                            Hearing Date: June 21, 2021
                                                     Time: 2:00 p.m.
KA TY COBA, in her Official Capacity as State        Judge: Hon. Karin J. Immergut
Chief Operating Officer and Director of the          Courtroom: 13A
OREGON DEPARTMENT OF
ADMINISTRATIVE SERVICES; OREGON
DEPARTMENT OF ADMINISTRATIVE
SERVICES; THE CONTINGENT; BLACK
UNITED FUND OF OREGON and DOES 1-
10,

                     Defendants.




                                   SUPPLEMENTAL URDANETA DECLARATION
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I, Victoria Urdaneta, declare as follows:

        1.      I am the Assistant Director of Operations at Settlement Services, Inc. ("SSI"). The

following statements are based on my personal knowledge and information provided by other SSI

employees working under my supervision, and, if called on to do so, I could and would testify

competently thereto.

        2.      SSI is serving in this matter as the Settlement Administrator in the Action for the

purposes of administering the Class Action Settlement, preliminarily approved in the Court's

Order dated March 19, 2021. I submit this Declaration in order to provide the Court and the

Parties to this Action with information regarding SSI's work in accordance with the Court's Order.

        3.      Requests for Exclusion. The deadline for Class Members to request exclusion

from the class was a postmark deadline of May 28, 2021. SSI received four timely and valid

requests for exclusion, and their names are as follows:

             a. Nimalsiri Pallebage Kapuralalage

             b. Didina Fakashchuk

             c. Anna Fakashchuk

             d. Cocina Cultura LLC, dba Revolucion Coffee House

       As noted in my previous declaration, SSI previously received twelve (12) invalid requests

for exclusion, and followed up with those Class Members to let them know how to properly exclude

themselves from the class. ECF No. 121,      ,r9.   Since that time, SSI received one untimely request

for exclusion, which was postmarked on June 2, 2021, five days after the Court-ordered deadline.

       4.       Obiections. The deadline for Class Members to object to the Settlement was a

postmark deadline of May 28, 2021. As of the date of this declaration, SSI has received no

objections, timely or otherwise.

       5.       Compliance With Additional Deadlines from Preliminary Approval Order. On

May 12, 2021, Plaintiff filed a motion for final approval of the Settlement and an application for

attorneys' fees, costs, and expenses and for the Service Award. ECF Nos. 107-112. On May 13,

2021, Class Counsel provided copies of those filings to the Settlement Administrator for posting

on the Settlement Website, and SSI posted the materials the same day. See Preliminary Approval

                                   SUPPLEMENTAL URDANETA DECLARATION
                                                    -1-
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Order, ECF No. 94, at, 7.

        6.     On June 3, 2021, SSI provided the Settling Parties with copies of all completed opt-

out notifications and a final list of all who had timely and validly excluded themselves from the

Settlement Class. See Preliminary Approval Order, ECF No. 94, at, 6. True and correct copies of

the opt-out notifications and list provided by the Settlement Administrator are respectively

attached as Exhibit 1 and Exhibit 2 to this declaration. In total, the Settlement Administrator

received four timely and valid opt-out notifications from Class Members.

        I declare under penalty of perjury under the laws of the United States that the foregoing is

true and correct.

        Executed June 10, 2021, in Tallahassee, Flori




                                 SUPPLEMENTAL URDANETA DECLARATION
                                                 -2-
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                        EXHIBIT 1
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Nimalsiri Pallebage Kapuralalage
                                                      Receive
7297SE Lindsay Ln                                       APR 19 2021
Hillsboro OR97123

GNR v. Caba Settlement Administrator,
Post Office Box 10269,
Tallahassee, FL 32302-2269

Case No. 3:20-cv-01866-IM (L) (D. Or.),

My New address is 7297SE Lindsay Ln Hillsboro OR 97123 and my old address was 12270SW
Center St Apt38 Beaverton OR 97005.

I, Nimalsiri Pallebage Kapuralalage, want to exclude myself from the settlement of Great
Northern Resources, Inc., et al. v. Coba., et al., Case No. 3:20-cv-01866-IM (L) (D. Or.),




Nimalsiri Pal ebage Kapuralalage
(Signature)

Sincerely
Nimalsiri Pallebage Kapuralalage




                                                                                         Exhibit 1
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Cocina Cultura LLC                                     MAY
                                                         2 8 2021
OBA Revolucion Coffee House
c/o Michelle A. Scott                                      SSl
Center for Individual Rights
1100 Connecticut Ave., NW
Suite 625
Washington, DC 20036




GNR v. Coba Settlement Administrator
Post Office Box 10269
Tallahassee, Florida 32302-2269

                                                                   Via US Priority Mail



To Whom It May Conce,m:

On behalf of Cocina Cultura, LLC, DBA Revolucion Coffee House, I, Maria Garcia (its
owner), wish to be excluded from the Settlement in Great Northern Resources, Inc., et al.
v. Coba., et al., Case No. 3:20-cv-01866-IM (L) (D. Or.).


Signed this   l!J_
                 Day of May 2021




Maria Garcia~
Owner, Cocina Cultura LLC
DBA Revolucion Coffee House




                                                                                    Exhibit 1
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                        EXHIBIT 2
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CM ID    fname                        lname                         OptOut Received     OptOut Received Date       Class Member
0031 Nimalsiri   Pallebage Kapuralalage                         x                     041921                   X
0639 Didina      Fakashchuk                                     x                     042721                   X
0641 Anna        Fakashchuk                                     x                     042721                   X

1229             Cocina cultura LLC DBA Revolucion Coffee house x                     052821                   X




                                                                                                                             Exhibit 2
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CM ID      fname          lname          OptOut Received     OptOut Received Date       Class Member                  Follow Up
0071    Sarifa       Phanchy         i                     040821                   X                  Opt Out Cure Letter (via Email)
0286    Sandra       Fanucchi        I                     042121                   X                  Opt Out Cure Letter (via Email)
0495    Odalys       Pineda          I                     040921                   X                  Opt Out Cure Letter (via Email)
0815    Rosaleea     Garcia          i                     040821                   X                  Opt Out Cure Letter (via Email)
0923    Carol        Rihsa           i                     040821                   X                  Opt Out Cure Letter (via Email)
0930    Neil Yancy   Travilla        i                     040821                   X                  Opt Out Cure Letter (via Email)
0933    Aamina       Ali Ahmed       i                     040821                   X                  Opt Out Cure Letter (via Email)
1099    Javier       Saiz            i                     040821                   X                  Opt Out Cure Letter (via Email)
1150    Celeste      Pulido Garcia   I                     041221                   X                  Opt Out Cure Letter (via Email)




                                                                                                                                      Exhibit 2
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